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 1                        DECLARATION OF ALEX MCINTOSH
 2   I, Alex McIntosh, hereby declare as follows:
 3         1.     I am the Chief Executive Officer for, and co-founder of, Thrive Natural
 4   Care, Inc. (“Thrive”), the plaintiff in the above-entitled action. I am over 18 years of
 5   age and make this declaration of facts known to me and, if called upon, I could and
 6   would testify competently to the facts stated herein.
 7         2.     From my duties for Thrive, I have personal knowledge about the sales of
 8   skincare products in the United States by Thrive bearing the word THRIVE.
 9         3.     Thrive started its business in 2013. It has always focused on selling
10   skincare products, including lotions, balms, facial cleansers, soap, and shaving and
11   grooming oils.
12         4.     Thrive sells its products through its website, www.thrivecare.co, as well
13   as through online retail partners, including Amazon.com and Walmart.com, and
14   through brick-and-mortar retailers such as Whole Foods.
15         5.     Thrive includes its THRIVE mark and branding on every product it sells,
16   and it has done so since 2013. Each Thrive product bears THRIVE branding,
17   including the word THRIVE in block letters on the package front as well as additional
18   references to THRIVE on the bottle or package. The images below are correct and
19   accurate representative examples of Thrive products.
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                                   DECLARATION OF ALEX MCINTOSH
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 1         6.       Prices for Thrive’s products range between $12.95 for a soap bar to
 2   $54.95 for a VIP Kit containing several Thrive skincare products.
 3         7.       Thrive ensures it sells the healthiest, most environmentally-sound
 4   skincare products on the market. Thrive adheres to a strict skin healthy philosophy and
 5   does not use any synthetic ingredients in its products. Further, Thrive does not source
 6   any ingredients in its products that are detrimental to the natural environment (e.g.
 7   ingredients that are listed by the Convention on International Trade in Endangered
 8   Species of Wild Fauna and Flora (“CITES”), an organization which lists ingredients
 9   the use of which can cause environmental harm or species depletion or extinction).
10         8.       Thrive is built around a mission of utilizing regenerative agriculture to
11   create both direct and indirect positive impact. Thrive partners with small farmers in
12   Costa Rica to produce unique botanical oil “hero ingredients” for its products, while
13   also restoring degraded landscapes and improving livelihoods of communities there.
14   Since 2014, Thrive has conducted extensive research and development in Costa Rican
15   ecosystems to regeneratively cultivate and source premium botanical ingredients to
16   provide its unique skincare benefits. The company partners with women-led co-ops
17   and smallholder farmers to cultivate native plants that improve soil and biodiversity
18   on degraded lands, boost farmers’ incomes and provide a high-quality supply of plant
19   oils. Thrive teams with American and Costa Rican skincare experts, ethnobotanists,
20   entrepreneurs, and rural farmers to create and sell native plant-based skincare products
21   utilizing premium organic resources, without any synthetic colors, fragrances, or
22   ingredients.
23         9.       Ultimately, Thrive’s goal is to serve as a commercially viable inspiration
24   for regenerative practices in the agriculture, fisheries, and forestry sectors. This unique
25   regenerative business model has positioned Thrive on the leading edge of healthy,
26   natural, and sustainable.
27         10.      Indeed, we chose to name our business “Thrive” specifically because it
28   refers to our regenerative business methods that help the earth and communities

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                                    DECLARATION OF ALEX MCINTOSH
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 1   thrive. The name is not descriptive of any aspect of our products themselves.
 2         11.     Thrive’s focus on a regenerative business model and organic, natural
 3   products is key to Thrive’s appeal with customers.
 4         12.     Since 2013, Thrive has devoted substantial money, time, and resources to
 5   developing the THRIVE brand. Thrive advertises its skincare products extensively on
 6   the Amazon and Walmart online marketplaces. The company has promotional
 7   partnerships with Amazon and Whole Foods and advertises through marketing
 8   agencies, public relations firms, social media such as Instagram and Facebook, the
 9   Thrive website blog, and online articles published on sites such as Medium.
10         13.     Thrive’s positive business practices and natural products have gained
11   significant attention by its retail partners. For example, Thrive was recently featured in
12   a marketing video produced by Amazon, which was shared with Amazon’s 600,000-
13   plus employees and over 100 million customers. Further, in December 2020, Thrive
14   was one of just two small businesses selected by Amazon from among thousands of
15   sellers to receive the first Amazon Launchpad Innovation Grant for most innovative
16   products and business model.
17         14.     Thrive’s products, mission, and business model have been featured in
18   publications such as Esquire, Progressive Grocer, Travel + Leisure Magazine, Whole
19   Foods Magazine, and Natural Solutions Magazine. I have also spoken on numerous
20   podcasts about Thrive’s business, and I delivered the opening keynote speech at The
21   Future of Sustainability 2017 conference, hosted by the New York Society of
22   Cosmetic Chemists.
23         15.     In recognition of Thrive’s innovative business model, the company was
24   selected by Conservation International Ventures, the investment arm of one of the
25   world’s leading environmental organizations, for a five-year partnership and
26   investment.
27         16.     Attached hereto as Attachment (“Att.”) 1 are true and correct copies of
28   Thrive’s U.S. trademark registration certificates for Registration Nos. 4,467,942 and

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 1   6,164,303 (together, the “THRIVE Marks”).
 2         17.    A declaration of incontestability for the Registration No. 4,467,942 was
 3   accepted and acknowledged by the U.S. Patent & Trademark Office (“USPTO”) on or
 4   about March 7, 2020.
 5         18.    Attached hereto as Attachment (“Att.”) 2 is a true and correct copy of
 6   Thrive’s pending trademark application, Serial No. 90/198,496.
 7         19.    Thrive has expended extensive resources enforcing and defending its
 8   THRIVE Marks against such infringers, through cease-and-desist letters and litigation.
 9   Thrive takes seriously any attempt by another company to use the “thrive” name in
10   relation to skincare products. To date, Thrive has obtained numerous voluntary
11   abandonments of “thrive”-related marks in the field and is currently engaged in one
12   other lawsuit with an entity that has used an infringing “thrive” mark in relation to
13   skincare products. As a result of its enforcement efforts, Thrive has substantially
14   cleared the field in the skincare market of other entities’ use of the term “thrive” as a
15   skincare product brand.
16         20.    I have reviewed the website for Defendant Le-Vel Brands, LLC (“LBL”),
17   and particularly the portion of LBL’s website displaying the “Thrive Skin” branded
18   products. I noted in my review that LBL’s “Thrive Skin” line includes lotions,
19   cleansers, and body scrubs that are identical to the type of products sold by Thrive
20   under its THRIVE Marks. Like Thrive, which markets its products as “powered by
21   regenerative plants” and containing “powerful plants,” LBL also markets its skincare
22   products as containing powerful plant derivatives, specifically CBD oil, a derivative
23   of a cannabis plant.
24         21.    Thrive has positioned itself in the market as offering affordable premium
25   quality skincare products that are backed up by highest quality natural ingredients.
26   Thrive’s products have received a “Premium Whole Body” certification from Whole
27   Foods Market. Whereas LBL’s product price points overlap with Thrive’s at the
28   higher end, the quality of LBL’s ingredients and its packaging sustainability are

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 1   substandard and less healthy for consumers and the environment. Due to the similarity
 2   in LBL’s marks to Thrive’s marks, consumers can easily be misled into believing
 3   LBL’s “Thrive Skin” products are a premium line within the Thrive catalog, also
 4   using special plants. But then consumers would be disappointed due to the unhealthy
 5   ingredients and less sustainable packaging used by LBL. For this reason, I view LBL
 6   as a direct and detrimental competitor to Thrive in the skincare market.
 7            22.   In addition, Thrive often refers to itself as a company by the name
 8   “Thrive” alone or “Thrive Skincare”. Thrive’s website contains numerous references
 9   to “Thrive Skincare”. In a web browser, a tab open to Thrive’s website will show the
10   term “Thrive Skincare” as shown in the screenshot below at left. The page index on
11   our website also refers to “THRIVE SKINCARE” as shown in the screenshot below at
12   right.
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21   In another location on our homepage, there is a large reference to “THRIVE
22   SKINCARE” and our regenerative mission, as shown in the screenshot below.
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28            23.   Thrive’s product packaging and marketing materials often use the term

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                                    DECLARATION OF ALEX MCINTOSH
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 1   “Thrive Skincare” to refer to Thrive and its products. The words “thrive” and “skin”
 2   appear next to each other in many of our webpages, advertising, and packages.
 3         24.    Similarly, Thrive’s brand page on Amazon is seen by hundreds of
 4   thousands of shoppers monthly, and it consistently uses the name “Thrive” in
 5   conjunction with the words “skin” and “skincare”.
 6         25.    Thrive has used the term “Thrive Tribe” as part of its brand messaging
 7   since at least December 2013. Throughout its history, Thrive has consistently referred
 8   to its followers and customers as the “Thrive Tribe,” including sending new customers
 9   an email welcoming them to the “Thrive Tribe” upon purchasing Thrive products or
10   signing up to receive Thrive messages. Thrive has also used the term “Thrive Tribe”
11   throughout its website, including prominently on its homepage, and in marketing
12   campaigns. For example, in 2018 Thrive ran an Instagram-based photograph contest
13   and directed followers to use the hash tag #THRIVETRIBE on their photographs to
14   identify that they were related to Thrive.
15         26.    I have reviewed the ingredient lists for two of LBL’s “Thrive Skin”
16   products, “Infinite CBD Correcting Serum” and “Infinite AM/PM CBD Moisturizing
17   Elixir,” which are available as PDF files from LBL’s website at https://le-
18   vel.com/Products/THRIVE/Skin. I found that LBL uses several ingredients in these
19   products that Thrive would never use due to either (a) health and safety reasons, or (b)
20   they have been found to contribute to the degradation of the environment. For
21   example, both of LBL’s products contain Dimethicone, a type of silicone that is
22   considered a synthetic ingredient. Thrive does not use any synthetic ingredients in its
23   products. Both of the LBL products also contain Calanthe Discolor Extract, an extract
24   from an orchid which is included on the CITES list of ingredients that cause negative
25   environmental impact. As noted, Thrive does not use any extract in its products that
26   has been listed by CITES.
27         27.    Thrive has a reputation for selling the healthiest and most ecologically
28   responsible products on the market. LBL, by contrast, is not selling the same type of

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                                   DECLARATION OF ALEX MCINTOSH
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 1   high-quality, organic, environmentally-safe products as Thrive. Further, I am
 2   informed and believe that LBL has been the subject of lawsuits, investigations into the
 3   content of LBL’s claims about its products’ benefits and its sellers’ income, and many
 4   complaints by customers and sellers regarding LBL’s multi-level marketing business
 5   model, suspicious product claims, and even selling of harmful products. Thus, despite
 6   having built a reputation for my company, Thrive, of having the highest-quality
 7   natural products and a leading edge socially responsible business model, that
 8   reputation stands to be severely damaged and undermined by confusion with LBL’s
 9   dubious business practices and numerous complaints. This creates confusion in
10   consumers’ minds: “Is Thrive good or bad? Responsible or irresponsible?” It also
11   creates the impression that Thrive’s products are sold as part of a multi-level
12   marketing scheme and of poor quality (as noted in consumer site reviews of LBL’s
13   “Thrive Skin” products). It would thus be particularly detrimental to Thrive’s
14   reputation if consumers were confused into believing that LBL’s “Thrive Skin”
15   products originated from Thrive.
16         28.    Thrive is a small company. We have just six full-time employees and a
17   few part-time employees who handle all company tasks from overseeing
18   manufacturing to fulfilling orders, and they count on Thrive for their livelihood. I
19   request that, if Thrive is required to post any bond for a preliminary injunction, the
20   Court set a low bond so that Thrive does not have to devote a significant portion of its
21   resources to stopping LBL’s infringement of our THRIVE Marks.
22         I declare under penalty of perjury under the laws of the United States of
23   America that the foregoing is true and correct. Executed on March ___,
                                                                        2 2021.

24
25                                                 ________________________________
                                                   Alex McIntosh
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                                   DECLARATION OF ALEX MCINTOSH
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                        McIntosh Declaration
                              Attachment 1
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From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Saturday, March 7, 2020 11:00 PM
To:                        trademarks@cobaltlaw.com
Subject:                   Official USPTO Notice of Acceptance/Acknowledgement Sections 8 and 15: U.S. Trademark RN 4467942: THRIVE: Docket/Reference No. THRIVE
                           03

U.S. Serial Number: 85980517
U.S. Registration Number: 4467942
U.S. Registration Date: Jan 14, 2014
Mark: THRIVE
Owner: THRIVE NATURAL CARE, INC.



                                                                                 Mar 7, 2020

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                                NOTICE OF ACKNOWLEDGEMENT UNDER SECTION 15
The declaration of incontestability filed for the above-identified registration meets the requirements of Section 15 of the Trademark Act, 15 U.S.C. §1065. The Section 15
declaration is acknowledged.

The registration will remain in force for the class(es) listed below, unless canceled by an order of the Commissioner for Trademarks or a Federal Court, as long as
the requirements for maintaining the registration are fulfilled as they become due.

Class(es):
003




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                                         REQUIREMENTS FOR MAINTAINING REGISTRATION

WARNING: Your registration will be canceled if you do not file the documents below during the specified statutory time periods.

Requirements in the First Ten Years

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between the 9th and 10th years after the registration date.
See 15 U.S.C. §§1058, 1059.

Requirements in Successive Ten-Year Periods

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***THE USPTO IS NOT REQUIRED TO SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE OWNER SHOULD CONTACT THE USPTO
ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To check the status of this registration, go to
https://tsdr.uspto.gov/#caseNumber=85980517&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch or contact the Trademark Assistance
Center at 1-800-786-9199.

To view this notice and other documents for this registration on-line, go to
https://tsdr.uspto.gov/#caseNumber=85980517&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=documentSearch NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.

 *   For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees,
     please consult the USPTO website at https://www.uspto.gov/trademark/ or contact the Trademark Assistance Center at 1-800-786-9199.
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Reg. No. 6,164,303         Thrive Natural Care, Inc. (DELAWARE CORPORATION)
                           42 Darrell Place
Registered Sep. 29, 2020   San Francisco, CALIFORNIA 94133

                           CLASS 3: Body and non-medicated soaps and skin cleansing gels; non-medicated skin care
Int. Cl.: 3                preparations, namely, facial lotions, cleansers and creams, oils for cosmetic use, skin
                           moisturizers; cosmetic sun care preparations and sunscreens; shaving creams and gels; pre-
Trademark                  shaving preparations; after shave lotions and creams

Principal Register         FIRST USE 9-5-2013; IN COMMERCE 9-5-2013

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           SER. NO. 87-021,374, FILED 05-02-2016
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                         McIntosh Declaration
                               Attachment 2
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Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2021)


                                     Trademark/Service Mark Application, Principal Register
                                                                       Serial Number: 90198496
                                                                       Filing Date: 09/22/2020


                                                       The table below presents the data as entered.

                                              Input Field                                                                Entered
             SERIAL NUMBER                                                              90198496
             MARK INFORMATION
             *MARK                                                                      Thrive
             STANDARD CHARACTERS                                                        YES
             USPTO-GENERATED IMAGE                                                      YES
             LITERAL ELEMENT                                                            Thrive
                                                                                        The mark consists of standard characters, without claim to any
             MARK STATEMENT
                                                                                        particular font style, size, or color.
             REGISTER                                                                   Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                             Thrive Natural Care, Inc.
             *MAILING ADDRESS                                                           42 Darrell Place
             *CITY                                                                      San Francisco
             *STATE
                                                                                        California
             (Required for U.S. applicants)

             *COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                United States
             *ZIP/POSTAL CODE
                                                                                        94133
             (Required for U.S. and certain international addresses)

             *EMAIL ADDRESS                                                             XXXX
             LEGAL ENTITY INFORMATION
             TYPE                                                                       corporation
             STATE/COUNTRY/REGION/JURISDICTION/U.S. TERRITORY OF
             INCORPORATION
                                                                                        Delaware

             GOODS AND/OR SERVICES AND BASIS INFORMATION
             INTERNATIONAL CLASS                                                        003
                                                                                        After-sun care lotion; After-sun cream; After-sun treatment;
                                                                                        Lip cream; Lip balm; Face wipes impregnated with a skin
                                                                                        cleanser; Beauty Mask for faces; non-medicated skin serums;
                                                                                        Fragranced body care preparations, namely, body scrubs, and
                                                                                        shower gels; Exfoliant creams; Non-medicated exfoliating
                                                                                        preparations for skin and body; Body wash; Non-medicated
                                                                                        liquid soap; Hand sanitizer; Skin cleanser; Body wipes
                                                                                        impregnated with a skin cleanser; Anti-aging cream; Anti-
                                                                                        aging cleanser; Anti-aging toner; Anti-aging moisturizer; Non-
                                                                                        medicated anti-aging serum; Facial cleaning preparation,
Case 2:21-cv-02022-DOC-KES Document 8-2 Filed 03/05/21 Page 14 of 18 Page ID #:77


                                                 namely, salicylic acne cleanser not for medical purposes; Hair
                                                 shampoos and conditioners; Hair styling preparations; Hair
 *IDENTIFICATION
                                                 gel; Shower gel; Hair cream; Dry shampoos; Hair pomades;
                                                 Shaving soap; Shaving lotions; Mustache wax; Non-medicated
                                                 beard care preparations, namely, balm, cream, wax, lotion, oil,
                                                 cleaner; Deodorant; Antiperspirant; Perfume; Cologne;
                                                 Fragranced facial moisturizer; Body spray used as a personal
                                                 deodorant and as fragrance; Fragrances for personal use;
                                                 Aromatic essential oils; Baby lotion; Baby oil; Baby powder;
                                                 Baby shampoo; Baby hair conditioner; Baby hand soap; Non-
                                                 medicated soaps for babies; Non-medicated cleansers, namely,
                                                 skin cleansers for babies; Baby suncream; Non-medicated
                                                 diaper rash cream; Non-medicated diaper rash ointments and
                                                 lotions; Baby wipes impregnated with cleaning preparations
 FILING BASIS                                    SECTION 1(b)
 ADDITIONAL STATEMENTS SECTION
                                                 The applicant claims ownership of active prior U.S.
 ACTIVE PRIOR REGISTRATION(S)
                                                 Registration Number(s) 4467942.
 ATTORNEY INFORMATION
 NAME                                            Stephen McArthur
 ATTORNEY BAR MEMBERSHIP NUMBER                  XXX
 YEAR OF ADMISSION                               XXXX
 U.S. STATE/ COMMONWEALTH/ TERRITORY             XX
 FIRM NAME                                       The McArthur Law Firm, PC
 STREET                                          9465 Wilshire Blvd., Suite 300
 CITY                                            Beverly Hills
 STATE                                           California
 COUNTRY/REGION/JURISDICTION/U.S. TERRITORY      United States
 ZIP/POSTAL CODE                                 90212
 PHONE                                           323-639-4455
 EMAIL ADDRESS                                   stephen@smcarthurlaw.com
 CORRESPONDENCE INFORMATION
 NAME                                            Stephen McArthur
 PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE        stephen@smcarthurlaw.com
 SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)   NOT PROVIDED
 FEE INFORMATION
 APPLICATION FILING OPTION                       TEAS Standard
 NUMBER OF CLASSES                               1
 APPLICATION FOR REGISTRATION PER CLASS          275
 *TOTAL FEES DUE                                 275
 *TOTAL FEES PAID                                275
 SIGNATURE INFORMATION
 SIGNATURE                                       /Alex McIntosh/
Case 2:21-cv-02022-DOC-KES Document 8-2 Filed 03/05/21 Page 15 of 18 Page ID #:78


 SIGNATORY'S NAME                        Alex Mcintosh
 SIGNATORY'S POSITION                    CEO
 SIGNATORY'S PHONE NUMBER                203-249-7285
 DATE SIGNED                             09/21/2020
          Case 2:21-cv-02022-DOC-KES Document 8-2 Filed 03/05/21 Page 16 of 18 Page ID #:79


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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2021)




                                           Trademark/Service Mark Application, Principal Register

                                                                       Serial Number: 90198496
                                                                       Filing Date: 09/22/2020
To the Commissioner for Trademarks:

MARK: Thrive (Standard Characters, see mark)
The literal element of the mark consists of Thrive. The mark consists of standard characters, without claim to any particular font style, size, or
color.
The applicant, Thrive Natural Care, Inc., a corporation of Delaware, having an address of
    42 Darrell Place
    San Francisco, California 94133
    United States
    XXXX

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

International Class 003: After-sun care lotion; After-sun cream; After-sun treatment; Lip cream; Lip balm; Face wipes impregnated with a skin
cleanser; Beauty Mask for faces; non-medicated skin serums; Fragranced body care preparations, namely, body scrubs, and shower gels;
Exfoliant creams; Non-medicated exfoliating preparations for skin and body; Body wash; Non-medicated liquid soap; Hand sanitizer; Skin
cleanser; Body wipes impregnated with a skin cleanser; Anti-aging cream; Anti-aging cleanser; Anti-aging toner; Anti-aging moisturizer; Non-
medicated anti-aging serum; Facial cleaning preparation, namely, salicylic acne cleanser not for medical purposes; Hair shampoos and
conditioners; Hair styling preparations; Hair gel; Shower gel; Hair cream; Dry shampoos; Hair pomades; Shaving soap; Shaving lotions;
Mustache wax; Non-medicated beard care preparations, namely, balm, cream, wax, lotion, oil, cleaner; Deodorant; Antiperspirant; Perfume;
Cologne; Fragranced facial moisturizer; Body spray used as a personal deodorant and as fragrance; Fragrances for personal use; Aromatic
essential oils; Baby lotion; Baby oil; Baby powder; Baby shampoo; Baby hair conditioner; Baby hand soap; Non-medicated soaps for babies;
Non-medicated cleansers, namely,skin cleansers for babies; Baby suncream; Non-medicated diaper rash cream; Non-medicated diaper rash
ointments and lotions; Baby wipes impregnated with cleaning preparations
Intent to Use: The applicant has a bona fide intention, and is entitled, to use the mark in commerce on or in connection with the identified
goods/services.


Claim of Active Prior Registration(s)
The applicant claims ownership of active prior U.S. Registration Number(s) 4467942.


The owner's/holder's proposed attorney information: Stephen McArthur. Stephen McArthur of The McArthur Law Firm, PC, is a member of the
XX bar, admitted to the bar in XXXX, bar membership no. XXX, is located at
   9465 Wilshire Blvd., Suite 300
   Beverly Hills, California 90212
   United States
   323-639-4455(phone)
   stephen@smcarthurlaw.com

Stephen McArthur submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court
of a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.

The applicant's current Correspondence Information:
   Stephen McArthur
    PRIMARY EMAIL FOR CORRESPONDENCE: stephen@smcarthurlaw.com                                           SECONDARY EMAIL ADDRESS(ES) (COURTESY
COPIES): NOT PROVIDED


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
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the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).
A fee payment in the amount of $275 has been submitted with the application, representing payment for 1 class(es).

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce and was in use in commerce as of the filing date of the application on or in connection with the
              goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application and was used on or in
              connection with the goods/services in the application as of the application filing date; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in commerce as
              of the application filing date on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /Alex McIntosh/ Date: 09/21/2020
Signatory's Name: Alex Mcintosh
Signatory's Position: CEO
Payment Sale Number: 90198496
Payment Accounting Date: 09/22/2020

Serial Number: 90198496
Internet Transmission Date: Tue Sep 22 05:55:45 ET 2020
TEAS Stamp: USPTO/BAS-XXXX:XXXX:XXXX:XXXX:XXXX:XXXX:
XXXX:XXXX-20200922055545101501-90198496-
750b66886550cacef8276a9dbdac8946f5a5073c
428c5d7b3284517021a7591-CC-55437475-2020
0921232918654574
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